     Case
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 1 RENE L. VALLADARES
   Federal Public Defender
 2 State Bar No. 11479
   RACHEL KORENBLAT
 3 Assistant Federal Public Defender
   411 East Bonneville Ave, Suite 250
 4 Las Vegas, Nevada 89101
   Tel.: (702) 388-6577
 5 Fax: (702) 388-6261
 6 Attorney for David Pak

 7                                 UNITED STATES DISTRICT COURT

 8                                       DISTRICT OF NEVADA
 9                                                 ***

10     UNITED STATES OF AMERICA,
                                                                 2:13-cr-00340-GMN-VCF
11                    Plaintiff,

12     vs.                                                UNOPPOSED MOTION TO MODIFY
                                                         CONDITIONS OF PRETRIAL RELEASE
13     DAVID PAK,                                             AND PROPOSED ORDER
                                                             (Expedited treatment requested)
14                    Defendant.

15
16           COMES NOW, the defendant, David Pak, by and through his counsel, Rachel Korenblat,

17 Assistant Federal Public Defender, and hereby files this Motion to Modify Conditions of Pretrial

18 Release pursuant to 18 U.S.C. § 3145(a)(2) to terminate location monitoring and home detention.
19 Pretrial Services concurs with this request, and the United States Attorney’s Office does not oppose

20 the request. This request is based upon the following points and authorities.
21           DATED this 28th day of March, 2014.

22                                                Respectfully submitted,

23                                                RENE L. VALLADARES
                                                  Federal Public Defender
24
                                                  /s/ Rachel Korenblat
25                                                __________________________
                                                  RACHEL KORENBLAT
26                                                Assistant Federal Public Defender

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     Case
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 1                                    POINTS AND AUTHORITIES

 2           On August 23, 2013 the Magistrate Court released Mr. Pak on a Personal Recognizance Bond

 3 (“PR Bond”) with Pretrial Release Conditions, which included the condition that he submit to
 4 location monitoring and home detention, both “at direction of” Pretrial Services. (CR ## 5(initial

 5 appearance minutes), 8 at p. 2 (PR Bond).) Thus, for the past seven months, Mr. Pak has been
 6 monitored by Pretrial Services in the form of Passive Global Position Satellite (“GPS”) and only

 7 allowed to leave his home for work and limited activities.

 8           Mr. Pak’s Pretrial Services Officer, Jamie Stroup, does not oppose terminating Mr. Pak’s
 9 location monitoring and home detention. The undersigned understands that Mr. Pak has been

10 compliant with his location monitoring and home detention. While Mr. Pak has had violations for
11 a couple of positive tests for marijuana, he has submitted clean drug tests since he began treatment

12 as directed by Pretrial Services in February.

13           Because Mr. Pak has not had any issue with his GPS monitoring, has made all court
14 appearances, and reportedly appropriately to Pretrial Services throughout the past seven months, as

15 well as has been drug-free since he began counseling, Mr. Pak has demonstrated that he is capable
16 of abiding by his conditions of release. Undersigned counsel has contacted Assistant United States

17 Attorney, Robert Knief, who does not oppose this request.

18                                            CONCLUSION
19           For the reasons stated above, the undersigned respectfully requests that this Court modify Mr.

20 Pak’s conditions of Pretrial Release by terminating his location monitoring and home detention.
21           DATED this 28th day of March, 2013.

22                                                  Respectfully submitted,

23                                                  RENE L. VALLADARES
                                                    Federal Public Defender
24
                                                   /s/ Rachel Korenblat
25                                              By:___________________________
                                                   RACHEL KORENBLAT
26                                                 Assistant Federal Public Defender

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     Case
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 1                                  UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3                                                 ***
 4
       UNITED STATES OF AMERICA,
 5                                                              2:13-cr-00340-GMN-VCF
                      Plaintiff,
 6                                                       ORDER TO MODIFY CONDITIONS OF
       vs.                                                     PRETRIAL RELEASE
 7
       DAVID PAK,
 8
                      Defendant..
 9
              Based on the Motion to Modify Conditions of Pretrial Release, and good cause appearing
10
      therefore,
11
              IT IS HEREBY ORDERED ADJUDGED AND DECREED that the Motion to Modify
12
      Conditions of Pretrial Release to terminate location monitoring and home detention is hereby
13
      GRANTED.
14                       28th
              DATED this ____ day of March/April, 2014.
15
16                                                ____________________________________
                                                  UNITED STATES MAGISTRATE JUDGE
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                                                              Page4 4ofof4 4



 1                           CERTIFICATE OF ELECTRONIC SERVICE

 2           The undersigned hereby certifies that I am an employee of the Law Offices of the Federal

 3 Public Defender for the District of Nevada and am a person of such age and discretion as to be
 4 competent to serve papers.

 5           That on March 28, 2014, I served an electronic copy of the above and foregoing
 6 UNOPPOSED MOTION TO MODIFY CONDITIONS OF PRETRIAL RELEASE AND

 7 PROPOSED ORDER (Expedited treatment requested) by electronic service (ECF) to the persons

 8 named below:
 9                  DANIEL G. BOGDEN
                    United States Attorney
10                  ROBERT KNIEF
                    Assistant United States Attorney
11                  333 Las Vegas Blvd. So., 5th Floor
                    Las Vegas, Nevada 89101
12

13
                                           /s/ Karen Meyer
14                                         Employee of the Federal Public Defender
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